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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                  §
KIM ELLIS,                                        §
                                                  §          CIV. A. NO. _______________
         Plaintiff,                               §
                                                  §          JURY DEMANDED
v.                                                §
                                                  §
BLACK RIFLE COFFEE COMPANY                        §
                                                  §
         Defendant.                               §

                           ORIGINAL COMPLAINT AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

         Kim Ellis (“Ellis”) is a female, African-American citizen of the United States. Ellis has

breast cancer. She is currently 56 years of age. Ellis complains of violations by Defendant Black

Rifle Coffee Company (hereinafter “BRCC” or Defendant) of federal laws prohibiting retaliation

and disability discrimination (actual and regarded as), race discrimination, sex discrimination and

age discrimination. She also complains of breach of contract in that BRCC removed her from her

position as a direct report to Co-Chief Executive Officer Tom Davin and later terminated her

employment without just cause, in violation of the employment agreement between the parties.

         After BRCC recruited Ellis from another company, and after BRCC vetted her at the

highest level, she started as SVP, Real Estate and Development on August 2, 2021. Ellis

accomplished a great deal during her short tenure with BRCC. Unfortunately, in October 2021,

Ms. Ellis received a diagnosis of breast cancer. She reported this appropriately in October 2021.

Ellis also reported her chemotherapy treatments and upcoming need for radiation treatments to her

superiors. She worked throughout it all (barely missing time for her surgery). But, after professing

concern and support for her, in March 2021, BRCC brought in a 36-year-old Anglo male without

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cancer (Heath Nielson)(“Nielson”) to fill a position that would have been her promotion but for

cancer, age, sex and race. Nielson treated Ellis badly, and his approach to at least two high-level

African American employees of BRCC was hostile and discriminatory. Ten days after Ms. Ellis

complained to HR about Heath’s treatment of her, BRCC terminated her employment. Ellis seeks

redress under the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101, et seq. as amended

(the “ADA”), Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended,

the Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended, and the Age Discrimination in

Employment Act (“ADEA”), 29 U.S.C. §621, et seq. Ellis also complains of BRCC’s beach of

the employment agreement between BRCC and Ellis, a matter over which this Court has pendant

jurisdiction under 28 U.S.C. § 1367.

         In support thereof Ellis respectfully states as follows:

                                PARTIES, JURISDICTION, AND VENUE

         1.        Ellis is a female citizen of Cedar Hill, Dallas County, Texas. Ellis is 56 years of

age.

         2.        Black Rifle Coffee Company (hereinafter “BRCC”) is a publicly traded, NYSE-

Listed company that employed Ellis and others in Texas. The causes of action asserted below

arose from and are connected to purposeful acts by BRCC during Ellis’s employment in Texas.

BRCC may be served with process through its registered agent, CT Corporation System 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3140.

         3.        This court has jurisdiction to hear the merits of Ellis’s claims under 28 U.S.C. §§

1331 and 1343.

         4.        The corporate headquarters of BRCC is at 1144 500 W., Salt Lake City, Utah

84101, and a substantial portion of the acts and omissions underlying Ellis’s claims—including



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the unlawful failure to promote and unlawful termination —occurred in Dallas, Texas. Venue is

proper in this district and division under 28 U.S.C. § 1391.

                                          FACTUAL BACKGROUND

         5.        BRCC was founded in December 2014. BRCC specializes in online, direct-to-

customer coffee subscription serve, which had over 100,000 subscribers as of 2020. In addition

to online sales, BRCC has physical coffee shops in Utah, Texas and Georgia. The coffee is also

distributed at some firing ranges, 5.11 Tactical stores, and Bass Pro Shops. In 2017, BRCC

expanded into Canada with a division based in Alberta. In 2018, BRCC opened a new coffee

roasting facility in Manchester, Tennessee and launched Coffee or Die Magazine, an online news

and lifestyle publication that reports on military, veteran, law enforcement, and coffee topics. On

September 29, 2019, BRCC opened its first stand-alone licensed coffee shop in Boerne, Texas. In

February 2022, BRCC completed a merger with SilverBox Engaged Merger Corporation to raise

funds for expansion and to go public and had a valuation of $1.7 billion.

         6.        BRCC was at all times relevant to Ellis’s claims and is now an “employer” within

the meaning of 42 U.S.C. § 2000-e(b) and other federal statutes pertinent to this suit.

              BRCC RECRUITS ELLIS AND ELLIS PERFORMS WELL AT BRCC

         7.        Ellis held a series of positions in real estate and business development from 1990

to the present. In 2021 I was employed as Senior Vice President, Real Estate and Development

by GameStop Corp., a Fortune 500 and S&P 500 company that operates more than 5,700 stores

across 14 countries.

         8.        In February 2021, Tom Davin (“Davin”), the Co-Chief Executive Officer of BRCC,

with whom Ellis had previously worked for five years while she was Executive Vice President,

Development for Panda Restaurant Group, Inc., contacted Ellis and began recruiting her to take a



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position at BRCC. During the recruitment process, Ellis was interviewed by (among others), Evan

Hafer (“Hafer”), the founder of BRCC who has served as its CEO since inception, Davin, Toby

Johnson, Chief Operations Officer, and Greg Iverson, CFO.         Hafer said to Ellis that BRCC’s

mission was “to build a great f_cking company.” BRCC offered Ellis the job of Senior Vice

President, Development by letter dated July 1, 2021, to report directly to Davin.

         9.        Ellis worked diligently and had good performance with BRCC. From August 2,

2021 through December 17, 2021, by her calculations, Ellis travelled 83 out of 120 days, 70% of

those calendar days, in more than 13 states. As a result of that travel and a lot of long hours and

hard work, Ellis’s team and she accomplished 50 approved real estate deals during that time. This

is an impressive number in her industry. During Ellis’s time working for BRCC, she never missed

a number. During that time, BRCC never counseled, warned, or disciplined Ellis at any time.

BRCC provided Ellis very positive feedback about her performance and ability until she began

reporting to Nielson, who began working for BRCC in March 2022, and who provided no positive

feedback, treated Ellis in a hostile, condescending manner, and made it clear to Ellis that he wanted

Ellis out of the organization. It became evident to Ellis that BRCC brought in Nielson to avoid

promoting Ellis, to replace Ellis, and to get Ellis out of the company because of her cancer

diagnosis, her race, her age, and her gender.

                IN OCTOBER 2021, ELLIS WAS DIAGNOSED WITH CANCER

         10.       On October 12, 2021 Ellis found out that she had been diagnosed with breast

cancer. In late October, Ellis told her boss, Davin, that she had cancer. Davin responded with

concern for Ellis and he never showed more of a concern for the business than for Ellis. Ellis and

Davin talked business during regularly scheduled 1 on 1 meetings and Ellis told Davin she would

update him on her cancer situation if she had a progress report. On one occasion Ellis checked in



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with Davin to be specifically sure that he didn’t think her performance was being impacted. Davin

said no, that it wasn’t. Also, during a call, Ellis talked once to Davin and she referenced a separate

conversation with Cristy Vertachnik (“Vertachnik”) (Director of Real Estate) about the possibility

of filing for FMLA leave. Ellis said that she would if they wanted her to, but with the strict rules

of FMLA Ellis would not be able to work at all (including phone calls).      Cristy said, “Even 30%

of you is better than none.” Both Vertachnik and Ellis knew and discussed that working is not

permitted on FMLA (including phone calls). They laughed, and Davin said he agreed with

Vertachnik’s assessment. In several conversations Ellis talked to Davin about her cancer recovery,

where Ellis told Davin that continuing to work at BRCC was literally keeping her alive. Ellis told

Davin that engaging her mind was a distraction from the pain. Ellis said this to Davin and others

multiple times.

         11.       In November 2022, Ellis informed Davin that her cancer surgery would be on

December 17, 2021. Davin was supportive. Ellis also told Sandy Garner, VP of People and

Culture, of her cancer situation. At the time, Garner held the highest-ranking title in HR. Garner

is an African American female who left BRCC in February 2022, shortly before BRCC terminated

Ellis. In early April 2022, BRCC replaced Ms. Garner with Linda Brandt (“Brandt”) as interim

CHRO. Brandt is an Anglo female. Ellis also shared her cancer diagnosis and surgery plan with

several members of her own team and the full Leadership staff of BRCC during a meeting on

December 13, 2021. Ellis’s surgery was on December 17, 2022.

         12.       Ellis returned to work from surgery on January 4, 2022 when she was no longer on

narcotic pain medications that might have impaired her decision making. Ellis participated in

regular meetings, mostly on WEBEX with video. Ellis was in pain through all of it. Davin and




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others said, “You wouldn’t be able to tell that anything had changed,” referring to Ellis’s cancer.

Maybe he was being nice, or maybe Ellis should have received an acting award.

         13.       On February 7, 2022, Ellis had a summit meeting where James Truong (“Truong”),

a subordinate of one of Ellis’s direct reports, Anthony Thompson (“Thompson”), led a large part

of the meeting. The meeting covered how the development process works (front to end), the steps,

of which one identified major milestone is to obtain soil reports (Geotech Reports) for all ground-

up building sites. One of the handful of mantras Ellis has used in business is “what gets measured,

gets improved.” This means that Ellis believes in tracking everything that is trackable in the

development process. During the summit meeting, Truong did not indicate there was any issue

with not obtaining, or delayed, soil reports. Obtaining these reports in a timely manner was a

routine part of Truong’s job, and there was no reason to suspect that Truong was somehow

forgetting or failing to order the soil reports or that he needed to be reminded to be sure soil reports

were promptly provided.

         14.       Ellis conducted a follow-up summit meeting on March 7, 2022 with fewer

attendees. At these summits only architects, GCs and Thompson’s staff, including Truoung,

attended. Several other meetings were held on a weekly basis to track deliverable open dates.

These meetings included every Monday meetings with internal BRCC development staff,

architects, and GCs. At these meetings Ellis and others would go deep into the timeline of process

and identify any issues that might impact opening schedules. Any changes were then reported

weekly. They also held a meeting every Friday with over 40 BRCC staff where they would review

the same information, but at a higher level. At no time during either Summit, Monday or Friday

meetings from November 2021 through March 18, 2022 did Truong indicate he had not ordered

the soil reports.



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         15.       On February 11, 2022, Ellis started chemotherapy as part of her efforts to survive

cancer. Each session generally took up a full day, and Ellis would feel the worst on the day 4 after

each treatment. Ellis had three other chemotherapy sessions – on March 4, March 19, and March

29, 2022. Ellis kept BRCC informed about all this. Ellis put the chemo sessions on her calendar

– to which BRCC had access. Ellis had specific conversations with Davin about each session.

Ellis communicated with Davin how she was trying to schedule her “most after-chemo sick day”

to be on a Saturday so it didn’t impact her work. Ellis changed the appointments to Tuesdays

instead of Mondays to make this accommodation. Others who knew this included Vertachnick,

Brandt, and Nielson.

                    IN MARCH 2022, NIELSEN STARTED AT BRCC
            AS CHIEF RETAIL OFFICER AND THINGS CHANGED FOR ELLIS

         16.       In early March 2022, Davin informed Ellis that his role with BRCC would be

shifting and that Ellis would now report to a new hire at BRCC – Heath Nielson. Nielson started

serving as BRCC’s Chief Retail Officer in March 2022. This was a job that Ellis would have

been promoted into but for her cancer, her race, her age, and her gender. At the time Nielson

was 36 years old, a much younger person than Ellis, a male, without cancer and Nielson was an

Anglo who had far less experience and qualifications for the job he filled than Ellis. For example,

Nielson boasted at many meetings about how he has opened hundreds of stores. This was weak

compared to over a thousand stores Ellis had opened at that point in her career. Ellis had opened

631 stores at Panda Express alone.

         17.       Ellis was not told in advance that the job that Nielson got was available or that she

might seek it, but Ellis would have sought the job BRCC gave to Nielson if given the opportunity.

When BRCC hired Ellis, Davin told her that BRCC didn’t want to have a C-role person in that

role, and thus Ellis got the title of SVP. Had Ellis known BRCC would insert an underqualified,


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or less qualified individual into a C-role (Chief Retail Officer), Ellis would have insisted on the C

suite title, a level that Ellis had attained before. BRCC brought in Nielson as the eventual

replacement for Ellis after it learned that Ellis had cancer. Shortly after Nielson was in place,

BRCC terminated Ellis.

         18.       BRCC brought Nielson in (at a higher level than Ellis) as the replacement for Ellis.

Nielson was aware of Ellis’s cancer situation from the start. Nielson had a one-on-one meeting

with Ellis – on March 21, 2022. After that, Nielson cancelled their meetings, without rescheduling

them. The only other one-on-one meeting Ellis had with Nielson was on April 22, 2022. Ellis

rescheduled this after the “regular” Monday meeting was repurposed. Even on this call, Nielson

was house shopping in Dallas with his wife and truncated the call before the scheduled hour.

         19.       Nielson was dismissive of Ellis from the time that he started. Nielson worked

around Ellis. Nielson called Ellis’s employees instead of allowing Ellis to do her job. Nielson left

Ellis out of meetings and decision making. Nielson did not answer or respond to Ellis’s phone

calls. After Nielson canceled meetings, Ellis would send email updates to which Nielson would

not respond. Nielson made Ellis feel like she truly was not there. Nielson failed to provide positive

feedback to Ellis, treated Ellis in a hostile, condescending manner, and made it clear to Ellis that

he wanted her out of the organization. At times Nielson treated Ellis as though she were a moron,

and without courtesy, friendliness, or respect. Ellis observed that Nielson also displayed such

negative attitudes and behavior toward one of Ellis’s key, highly competent subordinates,

Thompson, who was age 60 or older and African American. Ellis perceived both ageism and

racism on the part of Nielson toward Thompson and herself. Ellis did not observe this same

behavior by Nielson with any others on Ellis’s staff, all Anglo, except one employee who may be

Hispanic.



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         20.       On March 16, 2022 Ellis first heard of a concern that BRCC had not received a

geotech report and that it was overdue. Believing that where there is smoke there is fire, Ellis

worried that this might be a mistake by James Truong. Ellis was concerned that this might not be

the only soil report that slipped through the cracks. Ellis followed up on it immediately. On March

17, Ellis had brief conversations with Davin and Nielson. Ellis told them that she may have found

a miss that might impact BRCC’s annual operating plan (AOP) which was being developed. Ellis

told Nielson (her new boss) that she was conducting a session on March 18th to get the facts.

         21.       On March 18 Ellis held a “All Hands on Deck” meeting that lasted 7 hours. Ellis

made sure that Truong attended. At the meeting they went through the stores, one by one. Truong

kept saying, “I hate to tell you this, guys, but we need a Geotech here.” Since the soil report takes

7 weeks from the time it is ordered, each time Truong failed to order a report for a store, BRCC

lost 7 weeks of revenue for the affected store. Whether Truong failed to order the reports

deliberately or through negligence, this was a major failing by Truong. On March 21, 2022,

Truong ordered all the missing-but-needed soil reports and acknowledged his wrongdoing by

resigning from BRCC. Ellis reported all this immediately to Davin, Nielson and Finance. Ellis’s

performance with respect to this negligence or mistake by Truong was very good.

         22.       On March 21, 2022 Ellis had her only (ever) scheduled one-on-one meeting with

Nielson. In that meeting, Nielson and Ellis discussed business matters.

         23.       In the later portion of the March 21 meeting, Ellis told Nielson that they should talk

about “the elephant in the room.” Ellis brought up her cancer diagnosis and treatment. Nielson

told Ellis that Davin had made him aware of it. Ellis told Nielson she had one more chemotherapy

treatment to go. Ellis told Nielson that she had only missed one day so far and had moved her

chemo around so she could schedule to be sick on a Saturday instead of a weekday. Ellis shared



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with Heath what she had shared with Vertachnik, Davin and others -- that her doctor wanted her

to keep working and how it was literally keeping her alive. Nielson mentioned that Davin had told

him that as well.

         24.       In the March 21 meeting, Ellis told Nielson that her last chemotherapy

treatment was scheduled for March 28th, the following Monday. Ellis told Nielson that after

that the next step in her cancer treatment that she was concerned about was radiation treatment,

because it would be required daily (Monday through Friday) for potentially 6 weeks. Ellis told

Nielson it only takes a lunch break to do it, but that it would make travel impossible. Ellis told

Nielson that she might skip radiation altogether, as she told others, because she didn’t want it to

negatively impact her job. Later Ellis realized that it was dangerous to her survival and stupid of

her to be thinking that way, but with only an 8% chance of reoccurrence in 5 years, it was

something she felt she needed to consider to protect her job with BRCC. When Ellis told Nielson

that she might skip radiation treatments, Nielson signaled to Ellis that he viewed her efforts

to attend radiation treatments negatively by his failure to reply that she should go ahead

with the radiation treatments. At this meeting Nielson did not assert that Ellis was in any way

to blame for the soil report misconduct or negligence by Truong. Nielson did not even ask Ellis

how such a problem could be avoided in the future.

         25.       On March 24, 2022, Ellis learned of more misconduct or negligence by Truong.

Ellis learned that in an agreement Truong signed and dated February 8, 2021, Truong, who was

not authorized to sign behalf of BRCC, signed a pricing agreement with a geotech company,

Terracon, but still did not order the soil samples. Ellis reported this when she learned it.

         26.       On Friday, March 25, 2022, Neilson had a phone call with Ellis and Dan

Kappernick. Kappernick (who had previously reported to Davin) was also a new report to Neilson.



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Neilson told them he wanted a meeting at 8 am on Monday, that it was mandatory, and that they

would go through the pipeline store by store. Nielson said unless it was for a marriage or a

funeral, everyone must attend or not show up to work again at all. As he said this, Nielson

was aware that Monday was a day scheduled for Chemo for Ellis. Ellis had told Nielson that

on March 21, 2022, but he nonetheless threatened Ellis with termination if she did not attend

the Monday meeting.) Ellis rescheduled her chemo and attended the Monday, March 28, 2022

meeting.

         27.       At the Monday, March 28 meeting Ellis and others discussed the 31 operating

periods that had been lost (and previously reported to Nielson and Davin) because Truong failed

to order the soil reports. At the meeting they went through the pipeline store by store. Over and

over again, the Construction Project Managers (CPMs) told Nielson that the reports that had now

been ordered on March 21, were due back within 5 to 7 weeks as confirmed by Terracon. So Mr.

Nielson learned from the staff that the delayed store openings were caused solely by delays in

geotech soil sample orders. The whole team (Ellis’s team) explained that this was the result of

Truong’s failure not only to do the work, but his continual lies (or failure to tell the truth) at every

meeting about specific milestone dates that impact forecasted store openings.

         28.       Nielson never talked to Ellis about the Truong misconduct/mistake situation after

the Monday, March 28 meeting.

         29.       On April 15, 2022 Ellis met with BRCC’s new HR person, Linda Brandt. It seemed

like a friendly, catch-up meeting. Brandt asked Ellis how things were going with Heath (referring

to Heath Nielson).

         30.       Ellis replied that by her asking the question, she assumed not well. Ellis believed

she was engaging in protected activity as she spoke to Brandt, complaining of disability, sex, race



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and age discrimination. Ellis told Brandt that Nielson, a young, white guy, was being dismissive

of her and avoiding her, that Nielson wasn’t really interacting with her, and that Nielson had a

pattern of canceling meetings with her and failing to address her emails. Ellis knew that young

Nielson was far less qualified than Ellis herself. Ellis concluded based on subsequent events that

Brandt shared her complaints with Nielson. BRCC understood Ellis’s complaints about the way

Nielson was treating Ellis to be complaints about discrimination. Brandt and Ellis agreed that Ellis

should have a discussion with Nielson. That was Ellis’s intention following her April 15, 2022

meeting with Brandt, but Nielson cancelled the one-on-one meeting with Ellis that was scheduled.

         31.       Brandt told Ellis she had had a conversation with Nielson and asked Ellis to take

her through what happened with the store operating period change (referring to the soil reports

Truong failed to order). Ellis explained what Truong had done, failed to do, and his lies. Ellis

added, “Done again, I don’t know what I could have done except to do his job myself.” Ellis said,

they relied on someone to be competent and at a minimum honest. Neither Ms. Brandt nor anyone

at BRCC ever suggested to Ellis that she was wrong in her assessment of the situation.

         32.       Brandt asked Ellis what she thought happened with Truong. Ellis told Brandt it

confused her – that on the one hand Truong did a great job with the prototype and then failed on

“simply ordering the geotechs – it’s literally in an email.” No one ever came to Ellis with an

investigation of the Truong misconduct/mistake or with an investigation of Ellis or others. The

Truong misconduct/mistake was not Ellis’s.

         33.       Before Ellis was told of her upcoming termination, she received information that

Truong’s misconduct/mistake has been quantified as having from $1.8 to $2.4 million negative

impact on BRCC’s revenue. Ellis also had heard that someone, or some employees at BRCC made




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an $8 million mistake, but Ellis did not learn the details or find out what, if anything, was done to

those responsible.

         34.       On the morning of April 25, 2022, Ellis received a text message from Davin, asking

if she could chat at 5 pm. Ellis responded immediately, “of course.” An invitation for a video-

meeting came immediately, for just Davin and Ellis. About 20 minutes before the meeting, Brandt

(of HR) was added to the invite. Ellis learned at the meeting that the meeting was called to tell her

that she was being fired.

         35.       Ellis’s termination meeting began at about 5 pm on April 25, 2022.             The

participants (in the video call) were Davin, Brandt, and Ellis. Davin started the meeting by saying:

“Hey Kim. Looks like I pulled the short straw and am the one that has to inform you that we are

separating you from the company. The Board has lost confidence in you so that puts us here. I put

up a good fight for you but this is the decision the Board made.”

         36. Ellis replied that she was surprised and thought it was unfair. Ellis said, “The full body

of my work can’t have been considered. I have 45 plus deals approved since I started and busted

my ass getting us here.” Davin replied, “I know, Kim. Heath also wants to bring his own guy in.

We are interviewing now.” Davin then told Ellis what BRCC was prepared to offer her. Davin

said, ‘We realize you have cancer and want to make sure you can take care of your health, so we

are going to pay for one year of COBRA for you.” He added that BRCC would provide 6 months

of pay and accelerate Ellis’s 2022 stock vesting. Davin stated, “This isn’t intended to be

immediate. We would want you to transition your work over the next 2 to 4 weeks or whatever

works best for you.” Davin added, “Linda is going to send you all this in a document tonight when

we’re done.”




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         37.       Brandt told Ellis she would email the severance agreement to her when everyone

hung up. Ellis said, “I got to go,” and hung up in tears. Ellis felt crushed, terrified, and humiliated.

During the termination meeting on April 25, 2022, BRCC did not assert that its termination of Ellis

was for just cause. BRCC has never asserted that its termination of Ellis was for just cause. BRCC

lacked just cause for terminating the employment of Ellis.

         38.       At 7:38 PM, Brandt sent Ellis an email, attaching a proposed “Separation, Release

and Severance Agreement.” In this proposed agreement, BRCC made an unsuccessful attempt to

have Ellis release BRCC from her ADEA claims. When BRCC proposed this release of Ellis’s

ADEA rights, Ellis had not yet made any claim of age discrimination against BRCC. This shows

that BRCC knowingly violated the ADEA or recklessly disregarded whether its conduct toward

Ellis was prohibited by the ADEA. Palasota v. Hagger Clothing Co., 499 F.3d 474, 482 (5th Cir.

2007).

    ELLIS FILES AN EEOC CHARGE AND RECEIVES A RIGHT TO SUE LETTER

         39.       On May 17, 2022, Ellis filed charge of discrimination and retaliation against BRCC

with the United States Equal Employment Opportunity Commission and the Texas Workforce

Commission on Civil Rights. In addition to the EEOC charge itself, Ellis filed Attachment A, a

7-page, single-spaced description of her claims, including this Discrimination Statement:

                   I believe I have been discriminated against by BRCC because of my
         disability and/or regarded as disability in violation of the Americans with
         Disabilities Act, as Amended and the Texas Commission on Human Rights Act,
         TEX. LABOR CODE, § 21.001 et seq. In addition, BRCC has discriminated against
         me because of my race in violation of 42 U.S.C. Sections 1981 and 2000e, et seq.,
         and the Texas Commission on Human Rights Act, TEX. LABOR CODE, § 21.001 et
         seq. Further, BRCC has discriminated against me because of my sex in violation
         of 42 U.S.C. Section 2000e and the Texas Commission on Human Rights Act, TEX.
         LABOR CODE, § 21.001 et seq. Further, BRCC has discriminated against me
         because of my age in violation of the Age Discrimination in Employment Act, 29
         U.S.C. § 621, et seq. (the ADEA) and the Texas Commission on Human Rights
         Act, TEX. LABOR CODE, § 21.001 et seq.


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The EEOC issued a notice of right to sue letter on June 13, 2022. Ellis is filing this suit within 90

days of her receipt of the notice. Ellis has exhausted all the necessary administrative prerequisites

for this lawsuit under Title VII, the ADA, and the ADEA. There is no valid and/or enforceable

arbitration agreement between BRCC and Ellis covering the subject matter of any of the claims in

this action.

                                           BREACH OF CONTRACT

         40.       BRCC and Ellis are parties to a contract. The contract is an employment agreement

dated July 1, 2021 (hereinafter “the Employment Agreement”).               Under the Employment

Agreement, Ellis has the title of Sr. Vice President, Development, reporting directly to the Co-

Chief Executive Officer, Tom Davin. Under the Employment Agreement, Ellis is entitled to Cash

Compensation in the form of an annual salary, to be eligible to participate in BRCC’s Annual

Incentive Plan and Long-Term Incentive Plan, and to be eligible to participate in a number of

Company-sponsored benefits, including but not limited to unlimited PTO (paid time off). The

Employment Agreement between BRCC and Ellis specifically limits BRCC’s right to terminate

Ellis to the existence of “just cause” for termination. The employment agreement states:

         Termination. The Company reserves the right to terminate the employment of any
         employee for just cause at any time without notice and without payment in lieu of
         notice. The Company will be entitled to terminate your employment for any reason
         other than for just cause, upon providing to you such minimum notice as required
         by law.” (Emphasis added.)

BRCC unilaterally and solely drafted the Employment Agreement. The Employment Agreement

also provides that BRCC cannot amend or modify the just cause protection it provides Ellis “except

by an express written agreement signed by both you and a duly authorized officer of the

Company.”




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         41.       BRCC breached the Employment Agreement in early March 2022, when Davin

informed Ellis that Ellis would now report to a new hire at BRCC – Heath Nielson. Nielson started

serving as BRCC’s Chief Retail Officer in March 2022. The term of the Employment Agreement

that Ellis would “report directly to the Co-Chief Executive Officer, Tom Davin,” is a material

provision of the Employment Agreement, a provision upon which Ellis relied in accepting the offer

of employment with BRCC.

         42.       BRCC breached the Employment Agreement again when it terminated the

employment of Ellis without just cause on April 25, 2022, effective at the end of May 31, 2022.

The provisions of the Employment Agreement that provide that BRCC cannot terminate the

employment of Ellis without just cause and that provide that the contract cannot be amended or

modified except by an express written agreement signed by both Ellis and a duly authorized officer

of the Company are material provisions of the Employment Agreement, provisions upon which

Ellis relied in accepting the offer of employment with BRCC.

         43.       Ellis made written presentment of her breach of contract claim to BRCC on or about

May 17, 2022.

                                               CAUSES OF ACTION

A.       COUNT ONE: DISABILITY DISCRIMINATION

         44.       Ellis incorporates by reference Paragraphs 1 through 43.

         45.       BRCC’s acts and omissions, including but not limited to BRCC’s failure to promote

Ellis to Chief Retail Officer in March 2022 and its termination of Ellis on April 25, 2022, with her

last day of employment as May 31, 2022, were because of Plaintiff’s disability or perceived

(regarded as disability) – breast cancer. These acts and omissions constitute a willful, continuing

violation of the ADA.



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         46.       Due to Defendant’s wrongful and illegal acts and omissions Plaintiff has suffered,

and continues to suffer, reputational damage, mental anguish damages, and other damages

including but not limited to lost wages and compensation, both past and future, and the value of

fringe benefits, both past and future.

         47.       Defendant’s unlawful acts and omissions referenced in paragraphs 1 through 45

were malicious, thereby entitling Plaintiff to punitive damages.

         48.       Defendant’s unlawful acts and omissions referenced above in paragraphs 1 through

46 have caused Plaintiff to retain the services of the undersigned counsel to pursue her federal

rights in this action. Plaintiff seeks her reasonable attorneys’ fees, expert fees, and costs in this

matter. Plaintiff is entitled to attorneys’ fees and costs of suit under 42 U.S.C. §§ 12101, et seq.

and 42 U.S.C. §§ 1988.

B.       COUNT TWO: AGE DISCRIMINATION

         49.       Ellis incorporates by reference paragraphs 1 through 48.

         50.       BRCC’s acts and omissions, including but not limited to BRCC’s failure to promote

Ellis to Chief Retail Officer in March 2022 and its termination of Ellis on April 25, 2022, with her

last day of employment as May 31, 2022, were because of Plaintiff’s age. These acts and omissions

constitute a willful, continuing violation of the ADEA.

         51.       Due to Defendant’s wrongful and unlawful acts and omissions, Plaintiff has

suffered, and continues to suffer, reputational damage, and other damages including but not limited

to lost wages and compensation, both past and future, and the value of fringe benefits, both past

and future.

         52.       Defendant’s acts and omissions referenced in paragraphs 1 through 50 were willful,

thereby entitling Plaintiff to liquidated damages under 29 U.S.C. § 626 (b).



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         53.       Defendant’s acts and omissions referenced above in paragraphs 1 through 51 have

caused Plaintiff to retain the services of the undersigned counsel to pursue her federal rights in this

action. Plaintiff seeks her reasonable attorneys’ fees, expert fees, and costs in this matter. Plaintiff

is entitled to attorneys’ fees and costs of suit under 29 U.S.C. § 626 (b) and 42 U.S.C. §§ 1988.

C.       COUNT THREE: SEX DISCRIMINATION

         54.       Ellis incorporates by reference paragraphs 1 through 53.

         55.       Defendant’s acts and omissions as described above constitute unlawful

discrimination on the basis of sex in violation of Title VII, 42 U.S.C. Section 2000e et seq.

         56.       As a result of Defendant’s unlawful acts and omissions, Ellis has suffered, and

continues to suffer, reputational damage, mental anguish damages, and other damages including

but not limited to lost wages and compensation, both past and future, and the value of fringe

benefits, both past and future.

         57.       Defendant’s conduct as described above constitute malicious violations of Title VII

thus entitling Ellis to punitive damages.

         58.       Ellis is also entitled to reasonable attorneys' fees, expert witness fees, and costs

under 42 U.S.C. §2000e-5(k) and 42 U.S.C. §§ 1988.

D.       COUNT FOUR: RACE DISCRIMINATION

         59.       Ellis incorporates by reference paragraphs 1 through 58.

         60.       Defendant’s acts and omissions as described above constitute unlawful

discrimination on the basis of race in violation of Title VII, 42 U.S.C. Section 2000e et seq. and

the Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended.

         61.       As a result of Defendant’s unlawful acts and omissions, Ellis has suffered, and

continues to suffer, reputational damage, mental anguish damages, and other damages including



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but not limited to lost wages and compensation, both past and future, and the value of fringe

benefits, both past and future.

         62.       Defendant’s conduct as described above constitutes malicious violations of Title

VII and the Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended, thus entitling Ellis to punitive

damages.

         63.       Ellis is also entitled to reasonable attorneys' fees, expert witness fees, and costs

under 42 U.S.C. §2000e-5(k) and 42 U.S.C. §§ 1988.

E.       COUNT FIVE: RETALIATION

         64.       Ellis incorporates by reference paragraphs 1 through 63.

         65.       BRCC’s actions, including but not limited to BRCC’s failure to promote Ellis to

Chief Retail Officer in March 2022 and its termination of Ellis on April 25, 2022, with her last day

of employment as May 31, 2022, were because of Plaintiff’s protected activity. These acts and

omissions constitute a willful, continuing violation of the ADA, Title VII, the Civil Rights Act of

1866, 42 U.S.C. § 1981, as amended, and the ADEA.

         66.       Due to Defendant’s wrongful and illegal acts and omissions, Plaintiff has suffered,

and continues to suffer, reputational damage, mental anguish damages, and other damages

including but not limited to lost wages and compensation, both past and future, and the value of

fringe benefits, both past and future.

         67.       Defendant’s actions referenced in paragraphs 1 through 66 were willful, thereby

entitling Plaintiff to liquidated damages under 29 U.S.C. § 626 (b).

         68.       Defendant’s acts and omissions referenced above in paragraphs 1 through 66 have

caused Plaintiff to retain the services of the undersigned counsel to pursue her federal rights in this

action. Plaintiff seeks her reasonable attorneys’ fees, expert fees, and costs in this matter. Plaintiff



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is entitled to attorneys’ fees and costs of suit under the ADA, Title VII, the Civil Rights Act of

1866, 42 U.S.C. § 1981, as amended, the ADEA, and 42 U.S.C. §§ 1988.

F.       COUNT SIX: BREACH OF CONTRACT

         69.       Ellis incorporates by reference paragraphs 1 through 68.

         70.       A written contract existed between Ellis and BRCC, namely, the Employment

Agreement.

         71.       Adequate consideration supported the contract between Ellis and BRCC, and the

parties mutually agreed on all material terms. All conditions precedent have occurred or been

performed, and Ellis performed under the Employment Agreement. BRCC is not excused from

performing under the contract.

         72.       The Employment Agreement provides Ellis has the title of Sr. Vice President,

Development, reporting directly to the Co-Chief Executive Officer, Tom Davin. BRCC breached

the Employment Agreement in early March 2022, when Davin informed Ellis that Ellis would now

report to a new hire at BRCC – Heath Nielson and when BRCC carried out that change. As a

consequence, Ellis has suffered cognizable losses, for which she now sues.

         73.       The Employment Agreement provides that BRCC cannot terminate the

employment of Ellis without just cause and that that the contract cannot be amended or modified

except by an express written agreement signed by both Ellis and a duly authorized officer of the

Company. BRCC breached the Employment Agreement when it terminated the employment of

Ellis without just cause on April 25, 2022 and effective at the end of May 31, 2022. The

Employment Agreement provides that BRCC cannot terminate the employment of Ellis without

just cause and that the Employment Agreement cannot be amended or modified except by an




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express written agreement signed by both Ellis and a duly authorized officer of the Company. As

a consequence, Ellis has suffered cognizable losses, for which she now sues.

         74.       BRCC willfully violated the foregoing provisions of the Employment Agreement

and is therefore liable for consequential and incidental damages. Ellis suffered reputational

damages and the time and opportunity cost of Ellis’s participation in this lawsuit. Consequently,

Ellis seeks these consequential and incidental damages.

         75.       Ellis is entitled to recover her attorney’s fees under TEX. CIV. PRAC. & REM. CODE

§ 38.001 because its claim is on a written contract. Ellis perfected her right to fees by presenting

BRCC with a claim for payment on the contract by means of written presentment. More than 30

days have elapsed and BRCC has not tendered payment. Due to BRCC’s breach, Ellis was required

to retain the services of counsel to prosecute this action.

                                                 JURY DEMAND

         76.       Ellis requests a jury trial on all issues, claims, actions, and defenses in this case.

                                               PRAYER FOR RELIEF

         WHEREFORE, Ellis prays that BRCC be summoned to appear and answer, and that on

final trial, judgment be granted against BRCC giving Ellis:

         a.        The following injunctive relief:

                   (i)      Requiring BRCC to take all actions necessary to reinstate Ellis to the
                            position of Chief Retail Officer of BRCC with the full benefits and
                            compensation of such position and if reinstatement is feasible and ordering
                            injunctive relief that protects Ellis from any retaliation for having made her
                            complaints herein.

                   (ii)     Requiring BRCC to provide training on the priority and importance of
                            avoiding discrimination on the basis of disability (actual or regarded as),
                            age, sex and/or race, and unlawful retaliation, with the training to be tailored
                            to the problems, deficiencies, and gaps that the evidence shows;

                   (iii)    Requiring BRCC to periodically report in writing on the manner of


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                            compliance with the terms of any final order for non-monetary relief – with
                            the reporting to be tailored to the evidence;

                   (iv)     Requiring BRCC to deliver a copy of any Court Order in this matter to the
                            Equal Employment Opportunity Commission, the Texas Commission on
                            Human Rights, and to the CEO of BRCC within fifteen days after the entry
                            of such Order;

                   (v)      Requiring BRCC to provide all current employees of BRCC a NOTICE
                            TO EMPLOYEES that sets forth in full (i) this Complaint; (ii) any Court
                            Order in this matter, and (iii) the full provisions of all federal and Texas
                            laws BRCC has been found to have violated, and

                   (vi)     Requiring each of the officers and/or employees of BRCC included by name
                            in this Original Complaint, no later than two months from the date of the
                            Court’s Final Order in this matter to (1) attend and participate in good faith
                            at the expense of BRCC at least a one-week bona fide training program,
                            offered by a qualified third-party training entity, as to United States and
                            Texas laws prohibiting retaliation and/or discrimination on the basis of
                            disability (actual or regarded as), sex, age, and/or race and (ii) file a
                            certificate of compliance with the United States Equal Employment
                            Opportunity Commission and the Texas Workforce Commission certifying
                            successful completion by such officers and/or employees of BRCC of the
                            training, stating the dates of such training and the date of successful
                            completion of such training, and providing the full name, address, and
                            leadership/ownership identity of the third party training entity and the cost
                            of such training;

         b.        A declaration that BRCC actions violated the ADA, the ADEA, Title VII, and the
                   Civil Rights Act of 1866 plus individually tailored injunctive relief to address and
                   rectify BRCC’s unlawful acts and omissions;

         c.        Back pay, including but not limited to, lost wages and other employment benefits;

         d.        Equitable relief necessary to place Ellis in the position that she would have held but
                   for BRCC’s unlawful and/or wrongful acts and omissions; and, if such relief be not
                   feasible, front pay;

         e.        Injunctive relief necessary to permanently and forever enjoin BRCC from
                   discriminating and retaliating against Ellis and others who complain of disiability,
                   age, race or sex discrimination;

         f.        Actual and compensatory damages, including but not limited to reputational
                   damages;

         g.        Consequential and/or incidental damages;


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         h.        Liquidated damages under the ADEA and punitive damages under Title VII and
                   the ADA;

         i.        Uncapped compensatory and punitive damages under the Civil Rights Act of 1866,
                   42 U.S.C. § 1981, as amended;

         j.        Prejudgment and post-judgment interest;

         k.        Attorney’s fees, expert fees, and costs of suit;

         l.        Such other and further legal and equitable relief to which Ellis may justly be
                   entitled.

DATED:             June 22, 2022                          Respectfully submitted,

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